                                                                                         DISTRICT OF OREGON
                                                                                              FILED
                                                                                            February 09, 2016
                                                                                      Clerk, U.S. Bankruptcy Court




            IT IS ORDERED AND NOTICE IS GIVEN that a hearing on the matter below shall be
            set by the court in a separate Notice of Hearing which may be enclosed with this Order.




                                                                      _______________________________________
                                                                                  RANDALL L. DUNN
                                                                                U.S. Bankruptcy Judge




                                   UNITED STATES BANKRUPTCY COURT

                                             DISTRICT OF OREGON



In re                                           )
Elbert Garboden                                 )             15-35133-rld7
                                                    Case No.________________
Sherry Garboden                                 )
                                                )   MOTION AND NOTICE OF INTENT
                                                )   TO SETTLE AND COMPROMISE,
                                                )   AND ORDER THEREON
Debtor(s)                                       )



                                               Amy Mitchell
         The undersigned trustee, _____________________________, moves to settle and compromise the
following described dispute upon the following terms:
The Debtors own real property at 12054 Chapin Ct., Oregon City OR (the "Real Property"). The Debtors may
assert an exemption in the Real Property. There is no non-exempt equity in the Real Property. Turning Leaf
Homes III, LLC ("Turning Leaf") offered to purchase the Bankruptcy Estate's interest in the Real Property, subject
to all liens and interests of third parties. The Trustee is willing to transfer the Estate's interest in the Real
Property "as is, where is" and subject to all liens and interests, but the Trustee cannot convey the Real Property
without addressing the Debtors' potential exemption.
          To settle this matter, the Debtors waive all available exemption in the Real Property as to the Bankruptcy
Estate for the sole purpose of Turning Leaf acquiring the Real Property. In exchange for this waiver, Turning Leaf
will pay the Debtors $5,000. In addition, Turning Leaf will pay Debtor’s attorney $1,000 for Debtor's legal fees
associated with this transaction. Turning Leaf will pay the Bankruptcy Estate $5,000, upon approval of this
settlement, for all of the Estate's interest in the Real Property, subject to any liens and/or interests of third
parties. This settlement will generate funds for the Estate from an asset that would likely be abandoned absent
the Debtors' exemption waiver and Turning Leaf’s offer.

NOTE: After the Court enters this settlement notice, Trustee will serve the notice on all remaining lienholders for
the Real Property.



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DATE: ___________
         2/8/16                                /s/ Amy Mitchell
                                               ______________________________________________
                                                                  Trustee

                                                 PO Box 2289
                                Service Address: ______________________________________________

                                               Lake Oswego, OR 97035
                                               ______________________________________________

                                               None
                 Name of Attorney for Trustee: ______________________________________________

                                                 N/A
                                Service Address: ______________________________________________

                                               ______________________________________________




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